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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


    In Re: COOK MEDICAL, INC., IVC FILTERS   )
    MARKETING, SALES PRACTICES AND           )                    1:14-ml-02570-RLY-TAB
    PRODUCT LIABILITY LITIGATION             )                    MDL No. 2570
    ___________________________________      )
                                             )
    This Document Relates to: All Actions    )
    ________________________________________ )


                     ORDER DISMISSING CATEGORY 1 CASES
         Pursuant to the court’s Screening Order and Bellwether Selection Plan (Filing No.

9322), the following Category 1 Cases 1 are hereby DISMISSED WITH PREJUDICE:

     •   1:15-cv-01076, Nancy G. and Jesus Lopez-Saenz;
     •   1:15-cv-01239, Frederick and Martha Harris;
     •   1:16-cv-00990, Stanley Adkins;
     •   1:16-cv-01022, John David Mijares;
     •   1:16-cv-01764, Brenda Kubica;
     •   1:16-cv-02257, Elizabeth Lawler;
     •   1:16-cv-02319, Patricia Diberardo;
     •   1:16-cv-02801, Daniel & Melissa Cline;
     •   1:16-cv-03201, Betty McDaniel;
     •   1:16-cv-03296, Ivan Babb;
     •   1:17-cv-00611, Mark R. Hawley;
     •   1:17-cv-02259, Jacquelyn Durrant;
     •   1:17-cv-02804, Jenny Smith;
     •   1:17-cv-03106, Kathleen Grooms;
     •   1:17-cv-03204, Elsie Saunders;

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  Category 1 are defined as: “Cases where the Plaintiffs’ profile sheet and further follow-
up shows that the Gunther Tulip or Celect IVC filter was successfully removed on the
first, routine, percutaneous retrieval attempt and no physical symptom or filter
complication was alleged during the time the filter was in place or in connection with the
retrieval process.”

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   •   1:17-cv-03259, Arlene Wedderburn;
   •   1:17-cv-03396, Monique Bailey;
   •   1:17-cv-03460, Anthony Ponzio;
   •   1:17-cv-04106, Wallace Kenney;
   •   1:17-cv-04144, Ramona Lauderman;
   •   1:17-cv-04358, Ozell Clark;
   •   1:17-cv-04476, Shanikqua Jefferson;
   •   1:17-cv-04728, Lena R. Stephens;
   •   1:18-cv-00574, John J. and Rhonda Bishop;
   •   1:18-cv-00925, Derek S. LaRue;
   •   1:18-cv-02583, Collette Taylor;
   •   1:18-cv-03628, Tamera Slagle-Schuck;
   •   1:18-cv-03836, Michael James and Lisa Montgomery



SO ORDERED this 1st day of May 2019.




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